Case 1:18-cv-25429-MGC Document 18 Entered on FLSD Docket 03/14/2019 Page 1 of 6



                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                      (Miami Division)

                                                    CASE NO.: 1:18-cv-25429-MGC


   MAITE MARTINEZ,

               Plaintiff,

   v.


   CHERRY BEKAERT, LLP, a foreign for profit
   corporation,

               Defendant.

   __________________________________/

                 DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS
                       THE AMENDED COMPLAINT WITH PREJUDICE

             COMES NOW Defendant, CHERRY BEKAERT, LLP (hereinafter “CB”), by and through

  the undersigned counsel, pursuant to Fed. R. Civ. P. 12(b)(6), hereby files this Reply in support

  of an Order granting its Motion to Dismiss the Plaintiff’s Amended Complaint (DE 11) with

  prejudice, and in support thereof states as follows:

        I.         PLAINTIFF FAILS TO PRESENT ANY AUTHORITY THAT HOLDS AN
                   EMPLOYER LIABLE FOR ACTS OF A NON-EMPLOYEE ADVERSARY.

             The key question for the Court remains whether the law allows the Plaintiff to hold her

  former employer liable for alleged harassment and bullying by the competing accounting expert

  who worked for an entirely separate accounting firm in a contentious divorce case. The Plaintiff’s

  Opposition brief fails to identify any binding legal authority that could find CB liable for the

  alleged bullying sustained by Plaintiff from an accountant at another accounting firm.




                                                        COLE, SCOTT & KISSANE, P.A.
  COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 1:18-cv-25429-MGC Document 18 Entered on FLSD Docket 03/14/2019 Page 2 of 6
                                                                                                           Case No. 1:18-cv-25429-MGC


             The Plaintiff spends the majority of her opposition brief attempting to convince the Court

  that the law relied by CB is distinguishable or inapplicable to the pending matter. Indeed, in its

  Motion to Dismiss, CB explicitly recognized the fact the “Plaintiff attempts to expand the basis to

  hold an employer liable in a manner that is not recognized under the law” and “(b)ecause the

  Plaintiff’s theory for liability attempts to expand the law, there is little case law that evaluates an

  analogous theory.” DE 12 at pgs. 6-7. The law cited by CB in its Motion to Dismiss evaluates the

  level of control over the alleged bully that the employer must maintain to hold an employer

  responsible for the causes of action sued upon in this instance. Unlike the cases cited by Plaintiff,

  in this instance the adversary expert accountant undeniably did not work for CB, was not a

  customer or client for CB, and the alleged bully’s acts towards the Plaintiff did not occur in CB’s

  workplace. CB could not fire, reprimand, or remove the alleged bully from his role as the adversary

  expert in the divorce case where CB served as an expert.

             The Plaintiff cites two cases that she believes supports her claims against CB. These cases

  do not help the Plaintiff’s case. In Lockard v. Pizza Hut, Inc. 162 F.3d 1062, 1073-74 (10th Cir.

  1998), the Tenth Circuit Court of Appeals considered whether Pizza Hut could be liable for alleged

  harassment towards one of its employees from Pizza Hut customers. The Plaintiff alleged that

  customers made “filthy” comments to her and physically assaulted her. Id. at 1072. Pizza Hut

  denied that the employer could be held vicariously liable for the harassing conduct of its customers.

  When allowing the claim against Pizza Hut to proceed, the Court analogized as follows:

             Because harassment by customers is more analogous to harassment by co-workers
             than by supervisors, we hold the same standard of liability applies to both co-worker
             and customer harassment. Thus, employers may be held liable in these circumstances
             if they "fail[] to remedy or prevent a hostile or offensive work environment of which
             management-level employees knew, or in the exercise of reasonable care should have
             known." Id. at 1074, citing Hirschfeld v. New Mexico Corrections Dep’t, 916 F.2d
             572, 577 (10th Cir. 1990).


                                                                           -2-
                                                        COLE, SCOTT & KISSANE, P.A.
  COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 1:18-cv-25429-MGC Document 18 Entered on FLSD Docket 03/14/2019 Page 3 of 6
                                                                                                           Case No. 1:18-cv-25429-MGC


             Yet, unlike a customer at a Pizza Hut, the Plaintiff’s alleged bully was not one of the

  Plaintiff’s customers, clients, or co-workers. The alleged bully was also not someone who CB

  could terminate, refuse to serve, or remove from its facilities. Id. at 1075 (“Under Pizza Hut's

  policy manual on sexual harassment, which instructs managers on the steps they should take once

  they become aware of customers who harass employees, managers are specifically authorized to

  "ask the customer to refrain from the conduct and if the customer persists, ask the customer to

  leave the restaurant."). The alleged bully in this instance was someone who was purportedly

  bullying the Plaintiff from his desk at a competing accounting firm during the course of their

  competing expert work throughout a divorce case.

             The second case cited by Plaintiff, Folkerson v. Circus Circus Enters. 107 F.3d 754 (9th

  Cir. 1997), involved the Ninth Circuit Court of Appeals similar determination on whether an

  employee can sue its employer when a customer, in this instance a casino patron, is harassing the

  employee. Importantly, the Ninth Circuit Court of Appeals in Folkerson found that the employer

  was not liable for the acts of its casino patron and affirmed summary judgment for the employer:

             To satisfy the first element in a prima facie case of retaliation, Folkerson must show
             sufficient facts to impute the actions of the casino patron to her employer. We conclude
             that Folkerson failed to show any facts which would indicate that Circus Circus in any way
             ratified or acquiesced in the patron's alleged sexual harassment. Instead, the facts indicate
             that Circus Circus took reasonable steps to ensure Folkerson's safety from customer
             harassment.

             Id. at 756.

             The Plaintiff’s failure to cite any law that supports her unique theory of liability

  underscores the credibility in this instance.                               CB does not dispute the notion that it could

  conceivably face liability under the causes of action alleged if one of its customers or clients was

  harassing the Plaintiff while visiting CB’s accounting firm. But, that is not the situation here. The

  alleged harassment was coming from an outsider of the firm whose job was to be the Plaintiff’s

                                                                           -3-
                                                        COLE, SCOTT & KISSANE, P.A.
  COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 1:18-cv-25429-MGC Document 18 Entered on FLSD Docket 03/14/2019 Page 4 of 6
                                                                                                           Case No. 1:18-cv-25429-MGC


  adversary expert in a contentious divorce case. While the alleged actions of the bully in this

  instance would clearly be unacceptable and unprofessional conduct on the part of a professional

  accountant, CB lacked the situational ability and control to take the immediate and/or corrective

  actions that could have prevented the alleged conduct.

             The law simply does not place legal liability on CB for allegedly failing to prevent a non-

  employee adversary expert from harassing one of its workers from his desk at a competing

  accounting firm. The Plaintiff’s theory of liability is not recognized under Title VII or the FCRA.

             Consequently, the Court should dismiss the Complaint with prejudice.

       II.         PLAINTIFF NEVER COMPLAINED THE BULLYING WAS BASED ON
                   HER GENDER.

             The Plaintiff’s purported connection between the alleged bullying and her gender was

  based on one alleged email from the alleged bully to another CB employee, not including the

  Plaintiff, whereby the bully purportedly stated “PHIL, DON’T YOU HAVE THE BALLS TO

  STOP THIS WOMAN . . .?” DE 11 at ¶ 36. While this purported communication, which was not

  sent to the Plaintiff, notes the Plaintiff’s gender, the communication itself is just as critical of the

  Plaintiff’s male partner, “Phil”, as the Plaintiff herself. Taking the broad leap to assume this

  communication equates to discrimination based on Plaintiff’s gender is insufficient to constitute

  notice to CB that gender discrimination may be ongoing.

             Nowhere does the Plaintiff allege sufficient facts to tie her purported belief that the bullying

  or harassment was based on the Plaintiff’s gender, thereby elevating her complaint from mere

  bullying or adversarial disputes to illegal conduct protected by Title VII or the FRCA. As a result,

  the Complaint fails to state a claim under which relief may be granted, and the Complaint should

  be dismissed pursuant to F.R.C.P 12(b)(6).



                                                                           -4-
                                                        COLE, SCOTT & KISSANE, P.A.
  COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 1:18-cv-25429-MGC Document 18 Entered on FLSD Docket 03/14/2019 Page 5 of 6
                                                                                                           Case No. 1:18-cv-25429-MGC


             WHEREFORE, Defendant, CHERRY BEKAERT, LLP, pursuant to Fed. R. Civ. P.

  12(b)(6), respectfully requests that the Court issue an Order dismissing this action with prejudice,

  and for such other relief the Court deems just and proper under the circumstances.




                                                                           -5-
                                                        COLE, SCOTT & KISSANE, P.A.
  COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 1:18-cv-25429-MGC Document 18 Entered on FLSD Docket 03/14/2019 Page 6 of 6
                                                                                                           Case No. 1:18-cv-25429-MGC


                                                    CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 14th day of March, 2019, a true and correct copy

  of the foregoing has been furnished by electronic filing with the Clerk of the court via

  CM/ECF, which will send notice of electronic filing to all counsel of record.

                                                                     COLE, SCOTT & KISSANE, P.A.
                                                                     Counsel for Defendant CHERRY BEKAERT,
                                                                     LLP, a Foreign for profit corporation
                                                                     Cole, Scott & Kissane Building
                                                                     9150 South Dadeland Boulevard, Suite 1400
                                                                     P.O. Box 569015
                                                                     Miami, Florida 33256
                                                                     Telephone (786) 268-6415
                                                                     Facsimile (305) 373-2294
                                                                     Primary e-mail: cody.german@csklegal.com
                                                                     Secondary e-mail: andrew.simon@csklegal.com
                                                                     Alternate e-mail: magaly.triana@csklegal.com


                                                           By: s/ John Cody German
                                                               JOHN CODY GERMAN
                                                               Florida Bar No.: 58654
                                                               ANDREW G. SIMON
                                                               Florida Bar No.: 1002623

                                                                 SERVICE LIST

  Lowell J. Kuvin, Esquire
  Attorneys for Plaintiff
  Law Office of Lowell J. Kuvin
  17 East Flagler Street
  Suite 223
  Miami, Florida 33131
  Tel: 305-358-6800
  lowell@kuvinlaw.com
  1620.0109-00/12658984




                                                                           -6-
                                                        COLE, SCOTT & KISSANE, P.A.
  COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
